          Case MDL No. 2406 Document 381-2 Filed 07/07/17 Page 1 of 12




                              BEFORE THE JUDICIAL PANEL
                             ON MULTIDISTRICT LITIGATION


In re: BLUE CROSS BLUE SHIELD       )
ANTITRUST LITIGATION                )                        MDL. 2406
____________________________________)

This filing relates to the following case only:

Chicoine et al. v. Wellmark, Inc. d/b/a Wellmark
Blue Cross and Blue Shield of Iowa, et al.,
S.D. Iowa, Case No. 4:17-cv-00210


                  SCHEDULE PER RULE 6.1(b)(ii)
REGARDING MOTION TO VACATE CONDITIONAL TRANSFER ORDER (CTO-32)

Action Involved                                                District   Civil       Assigned
                                                               Court      Action      Judge

Bradley A. Chicoine, D.C., Mark A. Niles, D.C., Rod R.         United     No.         Chief
Rebarcak, D.C., and Ben Winecoff, D.C., on behalf of           States     4:17-cv-    Judge
themselves and those like situated,                            for the    00210-      John A.
                                                               Southern   JAJ-SBJ     Jarvey
AND                                                            District
                                                               of Iowa                And
Steven A. Mueller, D.C., Bradley J. Brown, D.C., Mark A.
Kruse, D.C., Kevin D. Miller, D.C., and Larry E. Phipps,                              Magistrate
D.C., on behalf of themselves and those like situated,                                Judge
                                                                                      Stephen
PLAINTIFFS,                                                                           B.
                                                                                      Jackson
vs.

Wellmark, Inc. d/b/a Wellmark Blue Cross and BlueShield
of Iowa and Wellmark Health Plan of Iowa, Inc.,

DEFENDANTS

       Attached hereto is the is the docket sheet for this case, which is provided as required in

JPML Rule 6.1(b)(iv). This rule also requires the inclusion of the operative complaint, which has

been filed concurrently as Exhibits 1 (Petition at Law) and 2 (First Amendment to Petition).
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Date: July 7, 2017

                                              /s/ Steven P. Wandro
                                              Steven P. Wandro AT0008177
                                              Kara M. Simons AT0009876
                                              WANDRO & ASSOCIATES, P.C.
                                              2501 Grand Avenue, Suite B
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                                                      ksimons@2501grand.com

                                              Glenn L. Norris AT0005907
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                                                     gnorrislaw@gmail.com

                                              ATTORNEYS FOR PLAINTIFFS CHICOINE ET
                                              AL. IN CASE NO. 4:17-cv-00210 BEFORE THE
                                              U.S. DISTRICT COURT FOR THE SOUTHERN
                                              DISTRICT OF IOWA


                                 CERTIFICATE OF SERVICE

I hereby certify that on the 7th day of July, 2017, a copy of the foregoing was electronically filed
with the Judicial Panel on Multidistrict Litigation by using the CM/ECF system on behalf of
Plaintiffs Bradley A. Chicoine, D.C., Mark A. Niles, D.C., Rod R. Rebarcak, D.C., and Ben
Winecoff, D.C., on behalf of themselves and those like situated, and Steven A. Mueller, D.C.,
Bradley J. Brown, D.C., Mark A. Kruse, D.C., Kevin D. Miller, D.C., and Larry E. Phipps, D.C.,
on behalf of themselves and those like situated, which will send notice of electronic filing to
counsel for all parties of record: Defendants Wellmark, Inc. d/b/a Wellmark Blue Cross and
BlueShield of Iowa and Wellmark Health Plan of Iowa, Inc., and Applicant Intervenor Blue
Cross Blue Shield Association.

Date: July 7, 2017

                                      /s/ Steven P. Wandro
                                      Steven P. Wandro
7/4/2017                 Case MDL No. 2406 Document
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                                                                                                                       REMOVAL

                                            U.S. District Court
                                     Southern District of Iowa (Central)
                             CIVIL DOCKET FOR CASE #: 4:17-cv-00210-JAJ-SBJ


  Chicoine et al v. Wellmark, Inc. et al                                              Date Filed: 06/14/2017
  Assigned to: Chief Judge John A. Jarvey                                             Jury Demand: Plaintiff
  Referred to: Magistrate Judge Stephen B. Jackson, Jr                                Nature of Suit: 190 Contract: Other
  Case in other court: Iowa District Court for Polk County,                           Jurisdiction: Diversity
                      CVCV050638
  Cause: 28:1453 Class Action Fairness Act
  Plaintiff
  Bradley A. Chicoine                                                     represented by Alison Kanne
  D.C.                                                                                   WANDRO & ASSOCIATES, P.C.
                                                                                         2501 GRAND AVE
                                                                                         SUITE B
                                                                                         DES MOINES, IA 50312
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                                                                                      Glenn L Norris
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                                                                                      Harley C Erbe
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                                                                                      Fax: 515 281-1474
                                                                                      Email: erbelawfirm@aol.com
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                                                                                      Kara Marie Simons
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                                                                                      515-281-1475
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                                                                                      Email: ksimons@2501grand.com
                                                                                      LEAD ATTORNEY
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                                                                                      ATTORNEY TO BE NOTICED

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                                                                                      WANDRO & ASSOCIATES, P.C.
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                                                                                      Email: swandro@2501grand.com
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED

  Plaintiff
  Bradley A. Chicoine, D.C., P.C.                                         represented by Alison Kanne
                                                                                         (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      Glenn L Norris
                                                                                      (See above for address)
                                                                                      LEAD ATTORNEY
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                                                                                      Harley C Erbe
                                                                                      (See above for address)
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                                                                                      Kara Marie Simons
                                                                                      (See above for address)
                                                                                      LEAD ATTORNEY
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                                                                                      Steven P Wandro
                                                                                      (See above for address)
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED

  Plaintiff
  Mark A. Niles                                                           represented by Alison Kanne
  D.C.                                                                                   (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      Glenn L Norris
                                                                                      (See above for address)
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                                                                                      Harley C Erbe
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                                                                                      LEAD ATTORNEY

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                                                                                      Kara Marie Simons
                                                                                      (See above for address)
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED

                                                                                      Steven P Wandro
                                                                                      (See above for address)
                                                                                      LEAD ATTORNEY
                                                                                      ATTORNEY TO BE NOTICED

  Plaintiff
  Niles Chiropractic, Inc.                                                represented by Alison Kanne
                                                                                         (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      Glenn L Norris
                                                                                      (See above for address)
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                                                                                      Harley C Erbe
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                                                                                      Kara Marie Simons
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                                                                                      Steven P Wandro
                                                                                      (See above for address)
                                                                                      LEAD ATTORNEY
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  Plaintiff
  Rod R. Rebarcak                                                         represented by Alison Kanne
  D.C.                                                                                   (See above for address)
                                                                                         LEAD ATTORNEY
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                                                                                      Glenn L Norris
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                                                                                      Harley C Erbe
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                                                                                      Kara Marie Simons
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                                                                                      Steven P Wandro
                                                                                      (See above for address)
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  Plaintiff
  Ben Winecoff                                                            represented by Alison Kanne
  D.C.                                                                                   (See above for address)
                                                                                         LEAD ATTORNEY
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                                                                                      Glenn L Norris
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                                                                                      Kara Marie Simons
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                                                                                      Steven P Wandro
                                                                                      (See above for address)
                                                                                      LEAD ATTORNEY
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  Plaintiff
  Steven A. Mueller                                                       represented by Alison Kanne
  D.C.                                                                                   (See above for address)
                                                                                         LEAD ATTORNEY
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                                                                                      Glenn L Norris
                                                                                      (See above for address)
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                                                                                      Harley C Erbe
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                                                                                      Kara Marie Simons
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                                                                                      Steven P Wandro
                                                                                      (See above for address)
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  Plaintiff
  Bradley J. Brown                                                        represented by Alison Kanne
  D.C.                                                                                   (See above for address)
                                                                                         LEAD ATTORNEY
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                                                                                      Glenn L Norris
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                                                                                      Harley C Erbe
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                                                                                      Kara Marie Simons
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                                                                                      Steven P Wandro
                                                                                      (See above for address)
                                                                                      LEAD ATTORNEY
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  Plaintiff
  Brown Chiropractic, P.C.                                                represented by Alison Kanne
                                                                                         (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                      Glenn L Norris
                                                                                      (See above for address)
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                                                                                      Harley C Erbe
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                                                                                      Kara Marie Simons

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                                                                                      (See above for address)
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                                                                                      Steven P Wandro
                                                                                      (See above for address)
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  Plaintiff
  Mark A. Kruse                                                           represented by Alison Kanne
  D.C.                                                                                   (See above for address)
                                                                                         LEAD ATTORNEY
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                                                                                      Glenn L Norris
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                                                                                      Harley C Erbe
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                                                                                      Kara Marie Simons
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                                                                                      Steven P Wandro
                                                                                      (See above for address)
                                                                                      LEAD ATTORNEY
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  Plaintiff
  Dr. Mark A. Kruse, D.C., P.C.                                           represented by Alison Kanne
                                                                                         (See above for address)
                                                                                         LEAD ATTORNEY
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                                                                                      Glenn L Norris
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                                                                                      Harley C Erbe
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                                                                                      Kara Marie Simons
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                                                                                      LEAD ATTORNEY
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                                                                                      Steven P Wandro
                                                                                      (See above for address)
                                                                                      LEAD ATTORNEY
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  Plaintiff
  Kevin D. Miller                                                         represented by Alison Kanne
  D.C                                                                                    (See above for address)
                                                                                         LEAD ATTORNEY
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                                                                                      Glenn L Norris
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                                                                                      Kara Marie Simons
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                                                                                      Steven P Wandro
                                                                                      (See above for address)
                                                                                      LEAD ATTORNEY
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  Plaintiff
  Larry E. Phipps                                                         represented by Alison Kanne
  D.C.                                                                                   (See above for address)
                                                                                         LEAD ATTORNEY
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                                                                                      Glenn L Norris
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                                                                                      Kara Marie Simons
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                                                                                      LEAD ATTORNEY

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                                                                                       ATTORNEY TO BE NOTICED

                                                                                       Steven P Wandro
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED


  V.
  Defendant
  Wellmark, Inc.                                                          represented by Benjamin Patrick Roach
  doing business as                                                                      NYEMASTER GOODE PC
  Wellmark Blue Cross and Blue Shield of                                                 700 WALNUT STREET
  Iowa                                                                                   SUITE 1600
                                                                                         DES MOINES, IA 50309-3899
                                                                                         515 283 8158
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                                                                                       Hayward L Draper
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                                                                                       LEAD ATTORNEY
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  Defendant
  Wellmark Health Plan of Iowa, Inc.                                      represented by Benjamin Patrick Roach
  an Iowa corporation                                                                    (See above for address)
                                                                                         LEAD ATTORNEY
                                                                                         ATTORNEY TO BE NOTICED

                                                                                       Hayward L Draper
                                                                                       (See above for address)
                                                                                       LEAD ATTORNEY
                                                                                       ATTORNEY TO BE NOTICED


  V.
  Intervenor Defendant
  Blue Cross and Blue Shield Association                                  represented by Joan M Fletcher
                                                                                         DICKINSON MACKAMAN TYLER &
                                                                                         HAGEN PC
                                                                                         699 WALNUT ST
                                                                                         1600 HUB TOWER
                                                                                         DES MOINES, IA 50309-3986
                                                                                         515 244 2600
https://ecf.iasd.uscourts.gov/cgi-bin/DktRpt.pl?104853974495346-L_1_0-1                                                 8/10
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                                                                         LEAD ATTORNEY
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  Date Filed             #    Docket Text
  06/28/2017            11 RESPONSE to Motion re 5 MOTION to Intervene by BCBSA filed by Bradley A.
                           Chicoine, D.C., P.C., Bradley J. Brown, Brown Chiropractic, P.C., Bradley A. Chicoine,
                           Dr. Mark A. Kruse, D.C., P.C., Mark A. Kruse, Kevin D. Miller, Steven A. Mueller, Mark
                           A. Niles, Niles Chiropractic, Inc., Larry E. Phipps, Rod R. Rebarcak. Replies due by
                           7/5/2017. (Attachments: # 1 Brief in Support of Plaintiffs' Resistance to BCBSA's Motion
                           to Intervene, # 2 Exhibit 1 to Plaintiffs' Resistance to BCBSA's Motion to Intervene)
                           (Simons, Kara) (Entered: 06/28/2017)
  06/28/2017            10 BRIEF Plaintiffs' Agreement to Stay in this Court While Issue of Removal to MDL No.
                           2406 Is Before the JPML by Bradley A. Chicoine, D.C., P.C., Bradley J. Brown, Brown
                           Chiropractic, P.C., Bradley A. Chicoine, Dr. Mark A. Kruse, D.C., P.C., Mark A. Kruse,
                           Kevin D. Miller, Steven A. Mueller, Mark A. Niles, Niles Chiropractic, Inc., Larry E.
                           Phipps, Rod R. Rebarcak, Ben Winecoff . (Simons, Kara) (Entered: 06/28/2017)
  06/28/2017             9 Letter to MDL Panel Potential Tag-Along Action. Letter and Removal paperwork emailed
                           to MDL. (don, ) (Entered: 06/28/2017)
  06/23/2017             8 MOTION to Stay by Wellmark Health Plan of Iowa, Inc., Wellmark, Inc..Motions referred
                           to Stephen B. Jackson, Jr. Responses due by 7/7/2017. If service was made under FRCP
                           5(b)(2)(C) (mail), (D) (leaving with the clerk of court), or (F) (by delivering by other
                           means consented to in writing), an additional three days is added after the period would
                           otherwise expire under FRCP 6(a). The additional three days does not apply to service
                           done electronically. (Attachments: # 1 Brief in Support, # 2 Exhibit A, # 3 Exhibit B, # 4
                           Exhibit C, # 5 Exhibit D, # 6 Exhibit E, # 7 Exhibit F, # 8 Exhibit G, # 9 Exhibit H, # 10
                           Exhibit I, # 11 Exhibit J, # 12 Exhibit K, # 13 Exhibit L)(Draper, Hayward) (Entered:
                           06/23/2017)
  06/20/2017             7 MOTION to Remand by Bradley A. Chicoine, D.C., P.C., Brown Chiropractic, P.C.,
                           Bradley J. Brown, D.C., Bradley A. Chicoine, D.C., Mark A. Kruse, D.C., Mark A. Kruse,
                           D.C., P.C., Kevin D. Mueller, D.C., Steven A. Mueller, D.C., Niles Chiropractic, Inc.,
                           Mark A. Niles, D.C., Larry E Phipps, Rod R. Rebarcak, D.C., Ben Winecoff, D.C..
                           Responses due by 7/5/2017. If service was made under FRCP 5(b)(2)(C) (mail), (D)
                           (leaving with the clerk of court), or (F) (by delivering by other means consented to in
                           writing), an additional three days is added after the period would otherwise expire under
                           FRCP 6(a). The additional three days does not apply to service done electronically.
                           (Simons, Kara) (Entered: 06/20/2017)
  06/16/2017                  Set Deadlines: Corporate Disclosure Statement deadline set for applicable plaintiffs
                              7/7/2017. Corporate Disclosure Statement deadline set for defendants 7/7/2017. (rmj)
                              (Entered: 06/16/2017)
  06/16/2017             6 PUBLIC DOCKET ANNOTATION: It appears Local Rule 7.1 applies in this case.
                           Attached is this Court's Local Rule 7.1 packet. Deadlines are set accordingly by the Clerk's
                           office. (rmj) (Entered: 06/16/2017)
  06/15/2017                  Magistrate Judge Stephen B. Jackson, Jr added. Chief Magistrate Judge Helen C. Adams
                              no longer assigned to case. (ml) (Entered: 06/15/2017)
  06/14/2017             5 MOTION to Intervene filed by Blue Cross and Blue Shield Association. Motion referred
https://ecf.iasd.uscourts.gov/cgi-bin/DktRpt.pl?104853974495346-L_1_0-1                                              9/10
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                           to Helen C. Adams. Responses due by 6/28/2017. If service was made under FRCP 5(b)(2)
                           (C) (mail), (D) (leaving with the clerk of court), or (F) (by delivering by other means
                           consented to in writing), an additional three days is added after the period would otherwise
                           expire under FRCP 6(a). The additional three days does not apply to service done
                           electronically. (dmh) (Entered: 06/14/2017)
  06/14/2017             4 TEXT ORDER: ORDER granting 3 defendants' motion for extension of time to move or
                           plead (unopposed). Defendants shall have to and including 7/21/2017 to move or plead in
                           response to the removed Petition. Signed by Chief Magistrate Judge Helen C. Adams on
                           6/14/2017. (kln) (Entered: 06/14/2017)
  06/14/2017             3 Unresisted MOTION for Extension of Time to File Answer by Wellmark Health Plan of
                           Iowa, Inc., Wellmark, Inc. d/b/a Wellmark Blue Cross and Blue Shield of Iowa.Motions
                           referred to Helen C. Adams. (Roach, Benjamin) (Entered: 06/14/2017)
  06/14/2017             2 NOTICE by Wellmark Health Plan of Iowa, Inc., Wellmark, Inc. d/b/a Wellmark Blue
                           Cross and Blue Shield of Iowa re 1 Notice of Removal,,,, Supplemental Local Rule 81.a
                           Statement (Attachments: # 1 Exhibit LL)(Roach, Benjamin) (Entered: 06/14/2017)
  06/14/2017             1 NOTICE OF REMOVAL by Wellmark, Inc. d/b/a Wellmark Blue Cross and Blue Shield
                           of Iowa, Wellmark Health Plan of Iowa, Inc. from Iowa District Court for Polk County,
                           case number CVCV050638. Filing fee paid in the amount of $ 400, receipt number 0863-
                           3228051., filed by Wellmark, Inc. d/b/a Wellmark Blue Cross and Blue Shield of Iowa,
                           Wellmark Health Plan of Iowa, Inc.. Rule 16 Notice of Dismissal set for 9/14/2017.
                           (Attachments: # 1 Local Rule 81.a Statement, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C,
                           # 5 Exhibit D, # 6 Exhibit E, # 7 Exhibit F, # 8 Exhibit G, # 9 Exhibit H, # 10 Exhibit I, #
                           11 Exhibit J, # 12 Exhibit K, # 13 Exhibit L, # 14 Exhibit M, # 15 Exhibit N, # 16 Exhibit
                           O, # 17 Exhibit P, # 18 Exhibit Q, # 19 Exhibit R, # 20 Exhibit S, # 21 Exhibit T, # 22
                           Exhibit U, # 23 Exhibit V, # 24 Exhibit W, # 25 Exhibit X, # 26 Exhibit Y, # 27 Exhibit Z,
                           # 28 Exhibit AA, # 29 Exhibit BB, # 30 Exhibit CC, # 31 Exhibit DD, # 32 Exhibit EE, #
                           33 Exhibit FF, # 34 Exhibit GG, # 35 Exhibit HH, # 36 Exhibit II, # 37 Exhibit JJ, # 38
                           Exhibit KK)(Roach, Benjamin) (Entered: 06/14/2017)



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                                    PACER                                 Client
                                                   wa2515:4079844:0
                                    Login:                                Code:
                                                                                    4:17-cv-00210-JAJ-SBJ
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                                    Description: Docket Report                      Start date: 1/1/1970 End
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